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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                          CRIMINAL NUMBER:
                 v.
                                                          1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC                                           FILED UNDER SEAL
                                                          PURSUANT TO MAY 29, 2019
         Defendant.                                       ORDER


 DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S RESPONSE
 TO THE GOVERNMENT’S SUPPLEMENTAL BRIEF REGARDING DEFENDANT’S
                     MOTION TO SHOW CAUSE

       Pursuant to the Court’s May 29, 2019 sealed order, ECF No. 137, Defendant Concord

Management and Consulting LLC (“Concord” or “Defendant”), through counsel, submits this

Response to the Government’s Supplemental Brief Regarding Defendant’s Motion to Show Cause

(“Government’s Supplemental Brief” or “Gov’t Supp. Br.”).

       I.       INTRODUCTION

       The sum and substance of the government’s argument is that its violation of L.Cr.R. 57.7(b)

caused no harm to Defendant Concord, but if the government were punished swiftly and publicly,

that punishment will interfere with Concord’s right to a fair trial. This is no argument at all;

instead, it is shameful duplicity.

       II.      LAW AND ARGUMENT

                A.     Deferring Proceedings on Contempt Benefits Only the Government
                       and Will Result in Further Prejudice to Concord

       In its Supplemental Brief, the government argues that no further proceedings are necessary

on Concord’s Motion for Show Cause Order because there is no prejudice to Concord; but if the

Court decides to hold any such proceedings, it should wait until after trial because of the risk of



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prejudice to Concord. The government concludes that punishment of it will cause harm to Concord

that was not already caused by the government’s violations regarding extrajudicial statements. But

the truth is that the government is only concerned with protecting itself from the shame of a public

sanction, and as such it should just admit that and say so.1

       The government repeats the arguments made at the May 28, 2019 hearing that the Mueller

Report and AG Barr’s statements could not possibly prejudice Concord’s right to a fair trial. Gov’t

Supp. Br. 4-5; Sealed Tr. of Mot. Hr’g 14:9 – 15: 9, 19:8 – 21:8, 42:20-25, May 28, 2019. But

this argument applies a no harm-no foul standard that does not exist in the law. In its argument,

the government refers to AG Barr’s “March 28, 2019 letter to Congress,” arguing that it

distinguishes between the activities alleged in the two indictments involving Russian individuals

and entities. Gov’t Supp. Br. 4. First, the government has the wrong date; the letter is dated March

24, 2019. See Ex. A, Letter from Att’y Gen. William P. Barr to United States Senate, Comm. on

the Judiciary and United States H.R., Comm. on the Judiciary 2 (March 24, 2019), available at

www.documentcloud.org/documents/5779700-AG-March-24-2019-Letter-to-House-and-

Senate.html. Second, while the letter devotes separate paragraphs to the indictments in this case

and in the Netyksho case, it also conflates the two by stating that the Mueller Report outlines “the

Russian effort to influence the election and documents crimes committed by persons associated

with the Russian government in connection with those efforts.” Id. at 2. And while the letter

makes reference to the charges in this case, it does not state that the charges are merely accusations

and that the defendants are innocent until proven guilty, as required by DOJ policy. See id.; Justice




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  The government does not offer a sworn affidavit or declaration from anyone involved in the
redaction decisions to support the speculation of the prosecutors regarding the redaction process.


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Manual § 1-7.500 (“A news release issued before a finding of guilt should state that the charge is

merely an accusation, and the defendant is innocent until proven guilty.”).2

       The government’s argument that statements made well in advance of trial cannot result in

prejudice is perplexing in light of its position that punishment for violation of Rule 57.7 would

result in such prejudice. Gov’t Supp. Br. 5. Still no trial date has been set, so by the government’s

own logic it would be impossible for public punishment now to interfere with a fair trial in the

future. Moreover, for the reasons set forth in Concord’s Supplemental Briefing, immediate

contempt proceedings would not prejudice Concord or exacerbate prejudice caused by the

government’s statements. Concord’s Supp. Br. Regarding its Mot. for Show Cause Order 6-11,

14, ECF No. 140 (“Concord Supp. Br.”).

               B.      The Government’s Willfulness Argument Is Premature

       The government’s willfulness argument is premature because it ignores the fact that

negating the willfulness element of its violation requires exactly what Concord has been asking

for all along—a public show cause hearing at which the government must present evidence related

to Concord’s motion. Evidence is required in order to rebut the inferences drawn from the conduct

identified in Concord’s Motion that the government’s conduct violated Rule 57.7. See In re Sealed

Case, 151 F.3d 1059, 1075 (D.C. Cir. 1998) (emphasizing that the burden of rebutting a prima

facie case lies with the independent counsel “who must now come forward with evidence, in



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  The government urges the Court to consider the context of the statements, arguing that the
“handful of sentences” that Concord has highlighted were part of a large volume of material and
information involving the Mueller Report. Gov’t Supp. Br. 5. But it was these damaging
statements that were reported by the media. Concord’s Mot. Show Cause Order 4-7, ECF No. 129
(“Concord’s Motion”). Moreover, if the Court is to follow the government’s logic and conclude
that the legal significance of unlawful statements can be cured by surrounding them by a large
volume of innocuous statements, then the Indictment against the Defendants should be dismissed
because the allegedly election-related statements by IRA were a miniscule part of IRA’s alleged
social media activity.


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whatever form the district court requires (including affidavits, depositions, production of

documents, or live testimony) to rebut the inferences drawn from the news articles that established

the prima facie case” of a leak of grand jury material); Yohannes v. Republic Gardens, 217 F.

Supp. 2d 91, 94 (D.D.C. 2002) (making a contempt finding after conducting a show cause hearing

and considering the evidence presented).       The argument the government sets forth in its

supplemental brief is not sufficient to negate the willfulness requirement, because it is not

evidence.

       But even considered on its merits, the government’s willfulness argument fails on both the

facts and the law. On the facts, the government points to AG Barr’s April 18, 2019 letter to

congressional leaders as evidence that the government considered Rule 57.7 when it decided to

release the Report, and thus acted in “good faith” or with “benign intent.” Gov’t Supp. Br. 9. Of

course, this argument ignores the fact that the letter was authored by one of the alleged contemnors

and that it contains no explicit reference to L.Cr.R. 57.7. Id. at 9-10. Further, even if the

government considered L.Cr.R. 57.7, the fact that the government ultimately ignored the rule is

affirmative evidence of willfulness, not the other way around. Moreover, the wording of the letter

suggests that the redactions were made to prevent disclosure of sensitive discovery consistent with

the Protective Order, and not in consideration of the Local Rule.3 And, it does nothing to address

AG Barr’s public statements about Concord. See Concord’s Motion 3. As such, the government




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  AG Barr’s April 18, 2019 letter refers to “redactions [] required to protect grand-jury secrecy or
to comply with judicial orders (i) protecting from public release sensitive discovery information
or (ii) prohibiting public disclosure of information bearing upon ongoing investigations and
criminal proceedings, including United States v. Internet Research Agency LLC, et al. and United
States v. Roger Jason Stone, Jr.” Of course, on April 18, 2019 there was no judicial order
prohibiting public disclosure of information bearing upon ongoing investigations or criminal
proceedings in this case, leaving the Protective Order as the only relevant judicial order.


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offers no actual evidence to rebut the Court’s conclusion that the conduct identified in Concord’s

Motion for Show Cause Order reflects a violation of Local Rule 57.7.

       On the law, the government cites two cases in support of its “good faith” and “benign

intent” argument, both of which it mischaracterizes. Gov’t Supp. Br. 9-10. In United States v.

Koubriti, 305 F. Supp. 2d 723 (E.D. Mich. 2003), the court did, in fact, publicly sanction then-

Attorney General John Ashcroft for making statements implicating a criminal defendant in the

September 11, 2001 terrorist attacks. In doing so, the court imposed sanctions despite AG

Ashcroft’s argument (like that of the government here) that he acted in good faith when trying to

balance the competing interests between a matter of national importance and the criminal

defendant’s right to a fair trial. Id. at 764. Moreover, the court elected “to formally and publicly

admonish the Attorney General,” despite a personal apology and assurances that such incidents

will not occur in the future. Id. at 764. Here, there is no apology at all; instead just a denial of

the obvious.    Notably, however, AG Ashcroft’s assurances were strikingly similar to the

government’s promise in this case that it “will take great care moving forward to comply with

Local Criminal Rule 57.7(b).” Gov’t Supp. Br. 13. The Koubriti decision also cuts against the

government’s argument that further proceedings are unnecessary because “the alleged violation

was undertaken by senior Department officials.” Id. at 10. The Koubriti court was “firmly

convinced that the statements at issue would warrant sanctions against any attorney who made

them, regardless of his position. That the Attorney General made them, therefore, cannot deter the

Court from its usual course.” 305 F. Supp. 2d at 761.

       The government also cites In re Brown, 454 F.2d 999 (D.C. Cir. 1971) to suggest that its

conduct was not willful and thus not contemptuous. See Gov’t Supp. Br. 9-10. Brown is

completely inapposite, however, because it involved conduct by an attorney (practicing law before




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a court without having been admitted to the bar of that court) that was expressly permitted by the

court of appeals (which mistakenly issued an order that “was impeccable on its face” and included

an “unequivocal” appointment). 454 F.2d at 1007. Here, by contrast, no such judicial sanction

has been given to the government’s conduct—despite its effort to obtain what amounts to advisory

opinions related to its ongoing conduct. See Gov’t Supp. Filing Regarding Def.’s Mot. Show

Cause, May 22, 2019, ECF No. 134. Brown thus provides no basis for excusing the government’s

conduct here.

       Notably, both of these cases actually support Concord’s position that further proceedings

are necessary before a contempt determination can be made. In Koubriti, the court entered an

order “directing the Attorney General to show cause in writing why he should not be compelled to

appear for a hearing to address Defendants’ motion.” 305 F. Supp. 3d at 725. As a result, the

court was able to render its decision on the contempt motion with the benefit of a letter to the court

from AG Ashcroft explaining the reasons for his actions, which was submitted “not only as the

Attorney General to the United States, but also as an officer of the court.” Id. at 753 (internal

quotation marks omitted). Likewise, in Brown, the court issued a show cause order, “and the

matter proceeded to hearing” where evidence was adduced with respect to the contempt issue. 454

F.2d at 1002. In sum, more must be done before these proceedings can be put to rest.

       Finally, the government’s willfulness argument is particularly disingenuous because it is

the same legal standard the government ignored in indicting this case. While Concord’s arguments

regarding the complete absence of evidence of its awareness of United States election and FARA

registration laws has been vigorously rejected by the government, the government now adopts the

same position, claiming that the highest law enforcement officer in the land could not have possibly

been aware that the government could violate L.Cr.R. 57.7 as it related to the release of arguably




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one of the most significant and highly-anticipated documents in a generation, despite having

allegedly consulted with countless DOJ officials during the process.

                 C.    Voir Dire Will be Necessary, But is Insufficient Because it Ignores the
                       Need to Punish the Government’s Rule Violation.

        Voir dire is not a sanction for a violation of this Court’s local rules. The cases the

government cites suggesting that voir dire is a sufficient remedy are unhelpful because they did

not arise in the context of using voir dire as an alternative to other judicially-imposed sanctions to

address prohibited extrajudicial statements. See Gentile v. State Board of Nevada, 501 U.S. 1030

(1991) (appeal on First Amendment grounds from a post-trial state bar reprimand for making

extrajudicial statements); United States v. Brown, 218 F.3d 415 (5th Cir. 2000) (First Amendment

challenge to court-imposed gag order); Rosales-Lopez v. United States, 451 U.S. 182 (1981)

(rejection of defendant’s request to conduct voir dire related to possible racial or ethnic prejudice

against defendant); Mu’Min v. Virginia, 500 U.S. 415 (1991) (challenge to trial judge’s refusal to

ask further questions of potential jurors about the contents of news reports to which they had been

exposed). In sum, the government has identified no case holding that voir dire was an adequate

substitute for judicially-imposed sanctions where the court had found a violation of a court order

or local rule.

                 D.    Sanctions are Appropriate

        The government concludes by stating that no sanctions are appropriate here by offering a

trust-us-we’ll-do-better-next-time argument. See Gov’t Supp. Br. 13 (“No sanction is necessary

or appropriate to ensure that the government will take great care moving forward to comply with

Local Criminal Rule 57.7(b).”). But a promise not to commit further violations is not punishment

for the violations that have already occurred.




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                E.      The Government’s Proposal for an Order Pursuant to L.Cr.R. 57.7(c)
                        is Meaningless

         After arguing against the imposition of any consequences for its violation of L.Cr.R.

57.7(b), the government responds to the Court’s query by proposing an order that states: “Counsel

for the parties are ordered to refrain from making statements to the media or in public settings that

pose a substantial likelihood of material prejudice to this case.” Gov’t Supp. Br. 14. But L.Cr.R.

57.7(b) prohibits statements where there is a “reasonable likelihood” that dissemination will

interfere with a fair trial or otherwise prejudice the due administration of justice, so the government

seeks to raise the threshold for a violation set out in the local rule.4

    Dated: June 12, 2019                               Respectfully submitted,


                                                       CONCORD MANAGEMENT AND
                                                       CONSULTING LLC

                                                       By Counsel

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  It is also worth noting that the government previews its intent to seek more advisory opinions
from the Court as it considers removing any redactions from the Mueller Report, precisely what
Concord argued against in its Motion to Strike, ECF No. 135.



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                                 CERTIFICATE OF SERVICE


       I hereby certify that on June 12, 2019, I have caused a copy of the foregoing Response to

the Government’s Supplemental Brief Regarding Defendant’s Motion To Show Cause to be filed

under seal via CM/ECF and transmitted to the following counsel of record via email:


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